Case 2:05-cV-02136-.]DB-tmp Document 20 Filed 08/18/05 Page 1 of 3 Page|D 22

IN THE UNITED STATES DISTRICT coURT F"-ED m --Y” D-‘#'
FoR THE wEsTERN DISTRICT oF TENNESSEE
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ROBERT E. (“BOB”) GIVEN,
d/b/a R.J.R. PAINTING,

Plaintiff,
vs.

Civ. NO. 05-2136-B[P

R & R MANAGEMENT, LLC,

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Defendant.

 

ORDER TO SHOW CAUSE

 

Before the court is defendant's Motion to Set Aside Default
Judgment of Plaintiff, Robert E. ("Bob") Given, d/b/a R.J.R.
Painting, filed on July 21, 2005 {dkt #7). This matter‘ was
referred to the United States Magistrate Judge for determination
and/or a report and recommendation. Local Rule 7.2(a)(2) provides:

the response to the motion and its supporting

memorandum . . . shall be filed within fifteen
days after service of the motion and shall be
accompanied by a proposed order. Failure to

respond timely to any motion, other than one
requesting dismissal of a claim or action, may
be deemed good grounds for granting the
motion.
The plaintiff has not filed a response to the motion, and the

time to file a response has passed. Plaintiff is hereby ordered to

show cause within eleven (ll) days from the date of this order why

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defendant's motion to set aside default judgement should not be

granted.

l'T IS SO ORDERED. ,%`d

TU‘M. PHAM`
United States Magistrate Judge

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Date d

 

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 20 in
case 2:05-CV-02136 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

 

M.E. Buck Dougherty

LESS GETZ & LIPMAN, PLLC
100 Peabody Place

Suite 1000

1\/1emphis7 TN 38103

Greg Hays

OZMENT COPELAND & HAYS
138 N. Third St.

an Floor

1\/1mephis7 TN 38103

Clifton 1\/1. Lipman

LESS GETZ & LIPMAN
100 Peabody Place

Ste. 1000

1\/1emphis7 TN 38103

Honcrable J. Breen
US DISTRICT COURT

